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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


 ENTROPIC COMMUNICATIONS, LLC             §
                                          §
 v.                                       §         CASE NO. 2:22-cv-00125-JRG
                                          §
 CHARTER COMMUNICATIONS, INC.             §


                      MINUTES FOR MARKMAN HEARING
              HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                   June 13, 2023

 OPEN:   09:02 AM                                                        ADJOURN: 12:49 PM


 ATTORNEYS FOR PLAINTIFF:                                 See attached

 ATTORNEYS FOR DEFENDANT:                                 See attached

 TECHNICAL ADVISOR:                                       David Keyzer

 LAW CLERK:                                               Jeffrey Jacobsen

 COURT REPORTER:                                          Shelly Holmes, CSR, TCRR

 COURTROOM DEPUTY:                                        Andrea Brunson, CP

    TIME                                       MINUTE ENTRY
  09:02 AM   Court opened.
  09:03 AM   Court called for announcements from counsel.
  09:04 AM   On behalf of Plaintiff, Mr. Hill advised the Court of a recent filing for a replacement
             exhibit to the claim construction opening brief. No objection by Defendant. Court
             noted correction.
  09:05 AM   Court began hearing claim construction arguments on a claim-by-claim basis.
                 Presented argument on behalf of Plaintiff: Ms. Allor, Mr. Engel, Mr. Shimota
                     and Mr. Bridges.
                 Presented argument on behalf of Defendant: Mr. Benyacar.
  10:53 AM   Recess.
  11:05 AM   Court reconvened.
  11:05 AM   Continuation of claim construction arguments.
  12:48 PM   Arguments concluded.
  12:49 PM   Court to take claim construction under submission.
  12:49 PM   Court adjourned.


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